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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:19−cr−00226
                                                        Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 23, 2021:


       MINUTE entry before the Honorable Virginia M. Kendall as to Robert M.
Kowalski. Defendant Robert Kowalski moves to stay the bankruptcy proceedings against
him during the course of this criminal case [168]. First, this is not the court that Kowalski
should be addressing for his request. His motion is properly made before the Bankruptcy
Court where that judge can determine if the automatic stay exception for a criminal
proceeding is appropriate. However, the statute itself carves out an exception for criminal
proceedings to take place and they do not stay a criminal proceeding against the debtor. 11
U.S.C.A. § 362(b)(1). The exception to the automatic stay applicable to the
commencement or continuation of a criminal action or proceeding against the debtor is an
absolute exception. See In re Gruntz, 202 F.3d 1074 (9th Cir. 2000); In re Branch, 525
B.R. 388 (Bankr. E.D. Mich. 2015); In re Pickett, 321 B.R. 663 (Bankr. D. Vt. 2005).
Mailed notice (lk, )




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